Case 2:02-cV-02532-BBD-STA Document 55 Filed 06/23/05 Page 1 of 2 Page|D 60

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IN THE UNITED s'rArEs DISTRICT coURT
FoR THE WESTERN DISTRICT 0F TENNESSEE 05 JUN 23 m |0.\ g ;
wEsTERN mvrsloN

ROBEFH' H. Di 'I`ROL|O
CLEF€K, U,S. D|ST. CT.

MARY T~ GODWIN» w.o. oF TN. MEMPH\$

Plaintiff,
No. 02-2532 D/An

VS.

CHARLES P. BAKER,
dib/a BAKER PROPERTIES,

Defendant.

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ORDER RESETTING HEARING

 

Before the Court is Plaintiff’s Motion for Rule 37 Sanctions and/or An Order to Show
Cause filed on March 16, 2005. United States District Judge Bernice B. Donald referred this
matter to the Magistrate Judge for determination

A hearing on this Motion was set to be held on June 21, 2005 at 10:00 A.M.; however, it
is ORDERED that the hearing shall be rescheduled to occur before United States Magistrate
Judge S. Thomas Anderson on 'I`HURSDAY, JULY 21, 2005 at 10:30 A.M. in Courtroom M-3,

9th Floor, Federal Building, Memphis, Tennessee.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: 2.

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with Flu!e 58 and/or 79(a) FHCP on M_' 5

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Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:02-CV-02532 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

